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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 1:22-cv-01275


CROWNALYTICS, LLC, a Colorado Limited Liability Company

Plaintiff,

v.

SPINS LLC, a Delaware Limited Liability Company; DAAP, LLC a
Delaware Limited Liability Company; and INFORMATION
RESOURCES, INC., a Delaware Corporation

Defendants.


                          COMPLAINT AND JURY DEMAND
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       This is an action for damages and injunctive relief under Sections 1 and 2 of the Sherman

Act, 15 U.S.C. §§ 1 and 2, and other federal and state laws, including the Colorado Antitrust Act,

Colo. Rev. Stat. § 6-4-101 et seq., arising out of the unlawful and anticompetitive practices of

Defendants SPINS, LLC (hereafter, “SPINS”); DAAP, LLC (hereafter, “DAAP”); and Information

Resources, Inc. (hereafter, “IRI”) (collectively, “Defendants”). In addition, Plaintiff Crownalytics,

LLC (hereafter, “Crownalytics”) seeks injunctive relief as to its state law claims, as specified below.

Crownalytics alleges as follows upon actual knowledge with respect to itself and its own acts and

upon information and belief as to all others:

                                I. JURISDICTION AND VENUE

       1.       This Court has subject matter jurisdiction over Crownalytics’s claims relating to

violations of Sections 1 and 2 of the Sherman Act, under 28 U.S.C. §§ 1331 and 1337, and 15

U.S.C. § 15. The Court has supplemental jurisdiction over Crownalytics’s state law claims pursuant

to 28 U.S.C. § 1367(a). Crownalytics’s federal and state law claims arise from the same events and

transactions, involve substantially identical issues of fact and law, and are so related to each other

that they form part of the same case or controversy under Article III of the United States

Constitution. These actions have affected interstate commerce.

       2.       This Court has personal jurisdiction over Defendants because they each transact

business in the District of Colorado, are registered with the Colorado Secretary of State, and

maintain registered agents for service of process in Colorado. Crownalytics, a Colorado company,

is a competitor in the data analytics market and is being injured by Defendants’ anticompetitive

conduct. A substantial part of Defendants’ wrongful acts occurred in and were directed to the

District of Colorado. Both IRI and SPINS serve Colorado-based customers and over two dozen of

Crownalytics’s and SPINS’s mutual customers reside in Colorado.

       3.       Venue is proper in this judicial district under 15 U.S.C. § 22 and 28 U.S.C.
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§ 1391. A substantial part of Defendants’ wrongful acts occurred in and were directed to the District

of Colorado.

                                         II. THE PARTIES

       4.       Plaintiff Crownalytics is a Colorado Limited Liability Company with its principal

place of business at 9455 Crystal Lane, Longmont, CO 80503. Crownalytics is a data-agnostic

analytics and insights consulting company that provides data analytics services to customers that

manufacture and sell natural and organic consumer packaged goods (hereafter, “NOCPG”).

NOCPG is an industry-recognized segment in the broader consumer packaged goods marketplace.

Crownalytics turns hard-to-use retail sales tracking data purchased by its customers into meaningful

and actionable information and insights that assist them in optimizing their sales and marketing

strategies. Crownalytics has competed and thrived in this market for years by offering premium

service at the lowest prices in the industry.

       5.       Kristopher Crown is the owner and founder of Crownalytics and manages its day-

to-day operations.

       6.       Defendant SPINS is a Delaware Limited Liability Company with its principal place

of business at 222 W. Hubbard Street, Suite 300, Chicago, IL 60654. SPINS provides retail tracking

data (also called purchase or point-of-sale data) relevant to the NOCPG industry. These are data

collected from retail sales channels which customers of SPINS can then purchase a license to access

and use. Since 2017, SPINS also provides data analytics services in competition with independent

providers. SPINS provides these services both directly and through its subsidiary, DAAP. Since

2021, SPINS has also marketed a data analytics tool called PowerTabs.

       7.       Defendant DAAP is a Delaware Limited Liability Company with its principal place

of business at the same location as SPINS, 222 W. Hubbard Street, Suite 300, Chicago, IL 60654.

Upon information and belief, SPINS owns, at a minimum, a controlling interest in DAAP, and
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DAAP may be a wholly owned subsidiary of SPINS. DAAP also provides data analytics services.

Upon information and belief, DAAP participated, or was an instrumentality of SPINS, in the

planning and execution of the wrongful conduct and conspiracy alleged in this Complaint.

(References to “SPINS’s data analytics services” refers to analytics services offered by SPINS

and/or DAAP.)

       8.       Defendant IRI is a Delaware Corporation with its principal place of business at 203

N. LaSalle Street, Suite 1500, Chicago, IL 60601. IRI also provides retail tracking data relevant to

NOCPG manufacturers. IRI provides retail tracking data in other market segments as well. As with

SPINS, IRI’s customers purchase a license to access and use these data. IRI also offers data analytics

services in this market directly and through its partnership with its data analytics competitor, SPINS.

                                 III. NATURE OF THE ACTION

       9.      Defendants IRI and SPINS are competitors in the market for the sale of retail

tracking data relevant to NOCPG manufacturers (hereafter, the “NOCPG Data Market”).

Defendants collect these point-of-sale data from retailers and sell licenses to use it to NOCPG

manufacturers. These manufacturer customers purchase the data from companies like IRI and

SPINS, and then employ data analytics firms like Crownalytics to analyze the data for them.

       10.      In 2014, IRI and SPINS brazenly decided to forgo competition in the NOCPG Data

Market and entered an arrangement expressly coordinating and combining their sale of data to

NOCPG manufacturers.

       11.      Crownalytics provides data analytics services to NOCPG manufacturers. The

market for data analytics services provided to manufacturers of NOCPG (hereafter, the “Data

Analytics Market”) was competitive until Defendants began working in concert to foreclose

competition in that market.

       12.      Because the NOCPG Data Market is upstream from the Data Analytics Market, the
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state of competition—or lack thereof—in the NOCPG Data Market has consequences for that

market, and for the Data Analytics Market as well.

       13.      SPINS by itself has sufficient market power in the NOCPG Data Market to

foreclose competition in the downstream Data Analytics Market. But, as explained further below,

a combined venture of IRI and SPINS is even better positioned to do so. At issue here is IRI and

SPINS’s use of their individual and shared market power in the NOCPG Data Market—in which

they are horizontal competitors—to drive out competition from the Data Analytics Market—in

which they also are horizontal competitors of each other and Crownalytics.

       14.      Under their anticompetitive arrangement in the NOCPG Data Market, SPINS

serves as the primary sales channel for IRI’s NOCPG data as well as the sole sales channel for its

own data. Most significantly, as a result of its arrangement with IRI, SPINS—and only SPINS—

also offers a bundle of IRI and SPINS retail tracking data that reflect relevant transactions from

various types of NOCPG retail channels (hereafter, the “SPINS Bundle”). The SPINS Bundle

cannot be replicated.

       15.      To ensure that SPINS is the primary if not sole channel though which NOCPG

manufacturers procure IRI’s data, the arrangement permits SPINS to offer the IRI data as part of

the SPINS Bundle at a deep discount (as much as sixty-six percent) off the price of procuring it

directly from IRI.

       16.      Of course, the vast majority of customers in the NOCPG Data Market purchase the

SPINS Bundle. Over eighty percent of Crownalytics’s customers who purchase data in the NOCPG

Data Market for use in obtaining data analytics services in the Data Analytics Market purchase the

SPINS Bundle. An additional ten percent purchase SPINS data.

       17.      Beginning in 2021, SPINS and IRI agreed to and began using their horizontal

agreement to exploit their market power in the NOCPG Data Market to foreclose Crownalytics and
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others from competing with them in the downstream Data Analytics Market.

       18.      To accomplish their anticompetitive scheme, Defendants coordinated to

simultaneously alter their prior business practices to: (a) prohibit NOCPG manufacturing customers

who purchase Defendants’ data in the NOCPG Data Market from dealing with Crownalytics (or

others) in the Data Analytics Market; (b) prohibit these same customers from purchasing stand-

alone software from Crownalytics to self-analyze Defendants’ data; and (c) condition the sale of

Defendants’ NOCPG data—both the SPINS Bundle and each of their data sets separately—on the

manufacturers’ agreement either not to use other firms that compete with Defendants in the Data

Analytics Market or to purchase Defendants’ data analytics services in that market.

       19.      This conduct violates Sections 1 and 2 of the Sherman Act as: (a) a group boycott

of Crownalytics—a per se violation of Section 1 of the Sherman Act; (b) unilateral refusals by each

Defendant to deal with rivals, in violation of Section 2 of the Sherman Act; (c) illegal tying in

violation of Sections 1 and 2 of the Sherman Act; and (d) a conspiracy to monopolize in violation

of Section 2 of the Sherman Act. This conduct also violates the Colorado Antitrust Act.

       20.      In furtherance of Defendants’ anticompetitive scheme, Defendant SPINS also has

tortiously interfered with Crownalytics’s contracts and prospective business relations, notifying

customers that Crownalytics will not be allowed to perform data analytics services using SPINS

data. SPINS representatives have made false and damaging statements about Crownalytics to both

Crownalytics’s customers and one or more competitors to gain a business advantage while it

terminates Crownalytics’s access to SPINS data. Moreover, SPINS has marketed and sold SPINS

PowerTabs tools and services, in breach of a contract with Crownalytics by which it specifically

agreed that SPINS may not use Crownalytics’s confidential information and reports as a basis to

develop or have a third party develop an Excel-based report substantially similar to Crownalytics

data analytics reports. Instead, SPINS used Crownalytics’s confidential information and reports to
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create SPINS’s substantially similar Excel-based PowerTabs tools and services.

             IV. THE RELEVANT PRODUCT AND GEOGRAPHIC MARKETS

       21.      For purposes of analyzing the conduct alleged in this Complaint, there are two

relevant product markets: the NOCPG Data Market and the Data Analytics Market. The geographic

scope of the two markets is the same.

   A. The Relevant Product Markets

          1. The NOCPG Data Market

       22.     In the NOCPG Data Market, three providers collect and sell retail tracking data from

various retail channels that are relevant to NOCPG manufacturers. These data are loaded into and

stored in databases that the providers maintain. Access to and use of these data are then sold to

NOCPG manufacturers. Two companies, Defendants IRI and SPINS, have developed massive

databases that are highly relevant to NOCPG customers. SPINS and IRI are competitors in the

NOCPG Data Market.

       23.     IRI’s data include point-of-sale transactions from large grocery chains and retail

outlets. SPINS’s data is an exclusive collection of point-of-sale transactions from more specialized

often smaller or regional natural and organic retailers.

       24.     A third data collection company is The Nielsen Company, LLC (Nielsen). Like IRI,

Nielsen also collects data from retail channels. Customers in the NOCPG Data Market appear to

consider Nielsen’s data set a third choice when compared to either SPINS’s or IRI’s data. It is

unclear whether this is because of the relevance of the retailers from whom Nielsen collects data,

or because of IRI and SPINS’s anticompetitive conduct.

       25.     Customers in the NOCPG Data Market are manufacturers of NOCPG. In order to

identify and obtain the best advertising, sales channels, and other opportunities necessary to launch

and sell NOCPG, these customers look to historic data relating to sales of both their own and other
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NOCPG. As noted, these data are collected at the point-of-sale from sales channels ranging from

large grocery chains (such as Kroger and Walmart) to more specialized and often regional natural

and organic retailers and sales channels.

        26.    Both SPINS and IRI offer their data as a standalone product. In 2014, however, they

began offering the SPINS Bundle. Customers can purchase the SPINS Bundle from SPINS—and

only from SPINS. IRI permits SPINS to sell its data in the SPINS Bundle at a significant discount

off the price IRI charges customers for the data. All of the data provided by SPINS in the SPINS

Bundle are branded “SPINS”—although on its website and elsewhere SPINS markets the fact that

the SPINS Bundle includes IRI data.

        27.    Replication of either the SPINS or IRI database, let alone the SPINS Bundle, is

virtually impossible due to, among other factors, exclusive contracts and relationships that SPINS

and IRI have taken years to establish and cement with retail channels. As SPINS explains on its

website, the SPINS Bundle is “the industry’s only source of cross-channel visibility across the full

market landscape.” SPINS goes on to explain why: “through exclusive retail partnerships, SPINS

is the only place to access point of sale data from hundreds of leading natural, regional, and specialty

retailers where emerging trends are often seen first.”1

        28.    In addition to exclusive agreements, the time and cost of replicating these data sets

is prohibitive. In a complaint that IRI filed against Nielsen in 1997 alleging monopolization of the

retail tracking data market, IRI described the barriers to entering that market:

                       34. The cost of entering a retail tracking services market,
                       whether using audit-based or scanner-based technology is
                       high. In order to offer its InfoScan service in the United
                       States, for example, IRI had to first create an enormous
                       database of sales and “causel” data measuring consumer
                       purchases at thousands of retail outlets throughout the
                       country. IRI also had to employ hundreds of computer

1
        See https://www.spins.com/insights-and-tools-for-brands/ (last visited on May 17, 2022).
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                       technicians, software engineers, field personnel and client
                       service staff, construct a computer processing facility, and
                       develop complicated computer software systems. IRI then
                       had to develop the expertise to organize, process, and
                       manipulate the vast amounts of scanner data involved in
                       providing a national retail tracking service.

                       35. Moreover, before IRI could begin offering a competitive
                       retail tracking service, it had to accumulate at least 12 to 18
                       months of data for comparative purposes so that clients
                       could measure trends and changes affecting sales of their
                       products. Stated differently, a supplier typically has to
                       collect and process data for a year-and-a-half before it is in
                       a position to be able to generate revenues and compete
                       effectively in a market for retail tracking services.2

        29.     Indeed, IRI’s complaint explains in detail “the high barriers to entry that

characterize these markets” (referring to the broader consumer packaged goods marketplace).3

These include a long history of industry concentration; high costs to enter the market and also to

compete in the market after entry, including those related to developing and maintaining proprietary

software systems and “unique expertise”; the long period of time—twelve to eighteen months—

that data must cover before they can be used to identify trends or changes in marketplace behavior;

the costs to collect large amounts of data frequently enough to be useful to customers as well as the

costs to store these data and deliver them to customers.4 According to IRI, “[b]ecause of the high

costs associated with providing a retail tracking service, upon information and belief, at a minimum,

an efficient supplier must have a share of between 35% and 40% of the United States Market just

to break even or achieve a minimum viable scale.”5

        30.     NOCPG manufacturers determine individually which databases include the data




2
      See Information Resources, Inc. v. The Dun & Bradstreet Corp., et al., First Amended
Complaint ¶¶ 34-35, a copy of which is attached as EXHIBIT 1.
3
      Id. at ¶ 95.
4
      Id. at ¶¶ 123-127.
5
      Id. at ¶ 128.
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most relevant to their business plans. The vast majority of customers in the NOCPG Data Market

(eighty percent) purchase the SPINS Bundle.

       31.      Accordingly, SPINS has market power individually in the NOCPG Data Market,

as does IRI by virtue of its partnership with SPINS. Additionally, the two entities together possess

shared market power in the NOCPG Data Market.

          2. The Data Analytics Market

       32.      After purchasing data in the NOCPG Data Market, NOCPG manufacturers must

then analyze those data to identify various market attributes that will assist them in optimizing their

sales and marketing strategies. The value of the data lies not in the data themselves, but, rather, in

the conclusions to be drawn from them through the use of data analytics services. Likewise, there

is no value to data analytics services without a data set upon which to perform them. Crownalytics

is one provider of these data analytics services and historically has been the most aggressive among

the competitors in terms of the price and value of its services.

       33.      The Data Analytics Market is the market for the provision of data analytics services

to NOCPG manufacturers. The suppliers are experienced third-party data analytics services firms

with specific experience in analyzing point-of-sale data—provided by IRI and SPINS and, to a

lesser extent, Nielsen. The customers are manufacturers of NOCPG who retain providers of data

analytics services to assist them in optimizing their sales and marketing strategies.

       34.      Certain NOCPG manufacturer customers—typically, those that are larger and more

sophisticated—may perform some data analysis themselves, using “in-house” professionals. Most

of these customers, however, still purchase data analytics services from third parties to supplement

their internal data analytics. Other customers in the NOCPG marketplace rely entirely on a third-

party data analytics services provider (like Crownalytics) to analyze the NOCPG data. This

eliminates customers’ costs associated with hiring and retaining in-house data analytics experts and
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the investment necessary to stay current with analytics tools and expertise.

       35.      These NOCPG manufacturers that purchase analytics services in the Data Analytics

Market are all customers in the NOCPG Data Market.

       36.      Third-party data analytics providers are largely database agnostic, analyzing

whatever data their customers provide to them, regardless of its source. Indeed, one reason a

customer purchases third-party data analytics services is to harmonize data obtained from multiple

sources.

       37.      While both IRI and SPINS also offer data analytics services to NOCPG

manufacturers (and in part because of that), they have always understood that their customers retain

third-party data analytics firms to analyze the data that IRI and SPINS sell to them. IRI and SPINS

are also aware of the identities of these data analytics services providers. In fact, on various

occasions, SPINS has sent emails thanking Crownalytics for promoting SPINS’s database to new

and existing mutual customers—of SPINS in the NOCPG Data Market and of Crownalytics in the

Data Analytics Market.

       38.      Crownalytics entered the Data Analytics Market in 2016. By 2020, prior to IRI and

SPINS’s anticompetitive conduct described in this Complaint, there existed at least four

independent competitors—in addition to SPINS and IRI—in the Data Analytics Market. These

included Crownalytics, TABS Analytics, Red Fox Analytics, LLC (hereafter, “Red Fox”), and

Bedrock Analytics (hereafter, “Bedrock”).

       39.      While IRI provides some data analytics services directly, it appears to have ceded

at least some portion of that business to its competitor SPINS. Before IRI and SPINS undertook

their anticompetitive scheme, Bedrock and Crownalytics served the majority of the Data Analytics

Market.

       40.      Although other entities provide data analytics services to other types of
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manufacturing customers, those suppliers are outside of the Data Analytics Market because they

lack the requisite reputation and experience in the NOCPG space within the consumer-packaged

goods industry to be able to compete effectively with data analytics services providers like

Crownalytics, who have catered primarily to customers in this space for years. But even were these

potential entrants inclined to enter this market, Defendants’ conduct has erected barriers to

competition by any unaffiliated data analytics firm, whether a prior incumbent or new entrant.

Defendants’ conduct precludes current and potential competitors equally.

   B. The Relevant Geographic Markets

       41.      The relevant geographic scope of both the NOCPG Data Market and the Data

Analytics Market is national.

       42.      Because of differences between countries in consumer demand, language, currency,

customer, brand names, bar codes, and advertising, among others, the NOCPG Data Market is

national in coverage.

       43.      Because data analytics services are designed to factor in and assess these same

country-specific variables, the Data Analytics Market also is national.

       44.      While a supplier of either service could be located anywhere in the world,

expanding the relevant geographic market to global has no impact on this case or allegations. An

international data provider would still need access to relevant US retail tracking data and would

encounter the same barriers discussed herein as a company based in the United States. Similarly, an

international provider of analytics services would be just as foreclosed from entering the data

analytics market by Defendants’ anticompetitive conduct as a US-based provider.

                                 V. GENERAL ALLEGATIONS

   A. Crownalytics’s Relationship with SPINS and IRI

       45.      When Crownalytics began providing data analytics services in 2016, its customers
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provided it access to the data that they had purchased from SPINS, IRI, and Nielsen for

Crownalytics to analyze.

       46.      SPINS was fully aware that Crownalytics was providing these data analytics

services to their mutual customers. Indeed, SPINS facilitated this arrangement by providing

Crownalytics with access credentials for its databases so that Crownalytics could directly access

the data that their mutual customers had purchased.

       47.      Likewise, IRI also understood that Crownalytics provided data analytics services

to their mutual customers and, in doing so, worked with the data that those customers had purchased

from IRI. As recently as January 2021, IRI provided access credentials for its database.

       48.      In some cases, SPINS and IRI entered into third-party user agreements (hereafter,

“TPAs”) with the customers that specifically authorized the customer’s chosen third-party data

analytics services provider—often, Crownalytics—to have access to the data that customers

purchased from SPINS or IRI so that the data analytics services providers could serve those

customers. The TPAs provided Crownalytics with access credentials to SPINS and IRI’s respective

databases, or to the SPINS Bundle. In all cases, Crownalytics cooperated in these arrangements.

       49.      Indeed, Crownalytics and SPINS had an extremely collaborative relationship. For

example, in an email to Crownalytics dated September 2, 2020, SPINS representative Anubhav

Goel said “Hope this note finds you and yours doing well. I heard you’re building a strong

partnership with Brent Grube, one of our newest Sales leaders also based in the Denver area. He’s

quickly becoming a big fan of yours.” Similarly, Crownalytics and IRI worked well together to

serve their mutual customers.

       50.      In February 2021, SPINS’s representative John Pavlenkov notified Crownalytics of

SPINS’s new plans to formalize the processes whereby a third-party analytics provider could access

the SPINS data their mutual customer had purchased. Mr. Pavlenkov wrote: “As one of our most
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utilized third parties, we appreciate your help and support.” Mr. Pavlenkov described the new

procedure as follows:

              1. Third Party Agreements: Brands request that we approve a “third party
              agreement” for any data usage by a third party. These agreements are sent to me for
              approval and consideration. We are moving forward in 2021 with no-fee TPA’s.
              Getting a third party approved to use our data costs the client nothing.

              2. Data Access: Data access is a paid-for service generally by the brand client. If
              they want a third party to access their data, they need to pay the user ID and licensing
              costs for that 3ʳᵈ party user just as they would one of their own employees. Options
              include:

              3. A Third Party Satori License: Grants access to MYEXTRACTS6 even if the
              client does not have their own access. Cost to the client is $5,000 per year for 1 3ʳᵈ
              party ID and subsequent access.

              4. Data Feed: Our [] team can extract the data and send a data feed. Price varies
              based on size and complexity of the feed, but it is a generally more expensive option
              than (a).

       51.     While SPINS’s new approach would impose some additional cost on its

manufacturer customers, Crownalytics believed that, given its own aggressive pricing, most of its

customers would accept the $5,000 third-party license fee. Accordingly, Crownalytics did not

object to the new procedures or charges. But there was more to come.

    B. Then, Things Started to Change

       52.     In mid-2021, both IRI and SPINS suddenly and simultaneously moved to restrict

third-party data analytics services providers’—including Crownalytics’s—access to their databases.

       53.     In April 2021, Mr. Pavlenkov introduced Mr. Crown to Edricco Reina, who he

explained would be responsible for managing SPINS’s relationship with Crownalytics going




6
        Satori is SPINS’s name for its database. Work in Satori can be saved into a folder called
“MYEXTRACTS.” These are not the inferior static data extracts that SPINS offered to
Crownalytics’s customers after discontinuing Crownalytics’s access to Satori which are described in
detail below.

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forward. When Mr. Crown met with Mr. Reina, Mr. Reina informed Mr. Crown that SPINS was

working on yet another new partnership model for independent data analytics services providers.

He did not provide any other details at that time.

       54.      Three weeks later, while Mr. Crown was waiting for SPINS’s Mr. Reina to provide

those details, Crownalytics heard from IRI.

       55.      On May 5, 2021, Crownalytics received a cease-and-desist letter from IRI

(hereafter, the “Cease & Desist”) demanding that Crownalytics immediately discontinue all use of

IRI’s data—which their mutual customers had purchased—and destroy all copies of those data,

including any work product developed through their use. This letter arrived without any warning or

preceding discussion and took Crownalytics (and its customers) entirely by surprise.

       56.      Crownalytics responded to the Cease & Desist, informing IRI that it had not

engaged in any of the wrongdoing alleged in that letter (indeed, had not engaged in any wrongdoing

at all). Crownalytics nevertheless agreed to take the steps requested by IRI to discontinue use of the

data which their mutual customers had purchased from IRI. Crownalytics complied with IRI’s

demands, despite the significant cost to Crownalytics of doing so, in the hope of preserving the

possibility of resolving this sudden, inexplicable, and seemingly fabricated, conflict.

       57.      A month later, in June 2021, while Crownalytics and IRI continued to communicate

in connection with the Cease & Desist, Mr. Crown received an email from SPINS’s Mr. Reina,

indicating that he now was prepared to discuss the new partnership model to which he had referred

in April. Perhaps recognizing that IRI and SPINS’s coordinated and simultaneous cessation of

business relationships and practices that had been in place for years might be a bit obvious, SPINS

took a different tack from IRI. SPINS labeled its cease-and-desist demand a new partnership model.

       58.      The new model that Mr. Reina revealed was anything but a partnership. To the

contrary, SPINS was taking the same action as IRI. Like IRI, going forward, SPINS would prohibit
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third-party data analytics services providers entirely from accessing SPINS’s database in

conjunction with those providers’ analysis of data that their customers had procured from SPINS.

       59.      During a subsequent call on July 1, 2021, Mr. Reina explained to Mr. Crown that,

going forward, customers purchasing data from SPINS for analysis by independent data analytics

services providers would only be permitted to purchase static “extracts” of those data to share with

their chosen data analytics provider. Not only would these new extracts include inferior data, they

would be priced so as to significantly increase the cost to a manufacturer customer of using a

competing analytics company.

       60.      Under SPINS’s new “partnership” plan, NOCPG manufacturers would now only

be permitted to provide their retained independent data analytics services providers incomplete,

static extracts of data purchased from SPINS, rather than providing the complete access upon which

the Data Analytics Market was premised. These extracts’ inferiority to the data previously available

renders the output of the analyses of the extracts correspondingly inferior.

       61.      Indeed, the extracts available to non-SPINS data analytics providers are virtually

useless for purposes of the services that Crownalytics (and other data analytics services providers)

performs. The extracts’ limited utility precludes data analytics services providers from generating

the type of reporting their customers need and indeed defeats the purpose for which customers hire

a third-party data analytics services provider like Crownalytics—which was exactly the effect

Defendants intended.

       62.      Further, NOCPG customers would now have to pay $5,000 for each extract, in

addition to the costs they already incurred to purchase data from SPINS. Given that a NOCPG

manufacturer could require from four to twenty extracts, under SPINS’s new partnership plan, the

manufacturer customers are now looking at what can fairly be characterized as a $20,000 to

$100,000 tax on substantially inferior data and, consequently, substantially inferior data analytics
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outputs. To place the magnitude of this tax in perspective, Crownalytics’s average annual charges

for its data analytics services were $20,000, demonstrating the sham nature of this nonviable

alternative offering.7

       63.       Of course, these new restrictions also threatened to diminish the value and utility

of the SPINS and IRI data offerings—but they had a solution to that.

       64.       If a NOCPG customer wants its data analytics firm to continue to have full access

to the data the customer purchased, all the customer has to do is switch to SPINS as its data analytics

services provider.

       65.       Now, only customers who agree to use SPINS’s data analytics services—as

opposed to those of a third party—could avoid this degradation in data access and increase in data

analysis cost. This is true regardless of whether the customer purchases SPINS data alone, or the

SPINS Bundle.

       66.       Although SPINS and IRI had offered data analytics services prior to IRI’s Cease &

Desist and SPINS’s new anticompetitive “partnership plan,” in that previously competitive market

environment, neither had ever gained a significant share of the Data Analytics Market.

       67.       As if the impact and effect of SPINS’s new “partnership” model were not obvious

enough, Mr. Reina explained them to Crownalytics: Because SPINS’s data analytics services

business had exclusive access to SPINS’s complete database (which also meant exclusive access to

IRI’s data in the case of customers who purchased the SPINS Bundle), third-party data analytics

services providers would not survive. More specifically, Mr. Reina stated that he “did not know



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         Additionally, SPINS now precludes data analytics providers from harmonizing SPINS’s data
with data Crownalytics’s customers may have purchased from Nielsen (or another competitor’s
data). While this restriction appears targeted at Nielsen, it also undermines the value of independent
analytics providers and the value of the analysis NOCPG customers will receive from Defendants.
Previously, NOCPG customers have benefited from data harmonization because the analyses used
all the data available to the customer.
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how they would exist in the future.”

   C. The Anticompetitive Consequences for Crownalytics and Others in the Data Analytics
      Market

       68.      While SPINS’s anticompetitive “partnership” plan was not yet fully in effect, SPINS

immediately commenced using it as the anticompetitive weapon it was. SPINS began actively

sharing the new plan with manufacturer customers as well as advising them of the impact this new

plan would have on the continuing viability of Crownalytics (and other independent analytics

providers) as well as the manufacturer customers’ use thereof. Among the actions taken by SPINS

in the past months:

       •     In November 2021, Crownalytics’s remaining customers began reporting that SPINS

             was telling them that Crownalytics is not authorized to access any SPINS data, even

             though SPINS’s new anticompetitive partnership plan will not be fully effective until

             May 31, 2022.

       •     Customers also reported that SPINS was falsely disparaging Crownalytics and

             recommending an alternative data analytics provider, Red Fox, in the event they did not

             wish to use SPINS. (Red Fox, previously one of the smaller independent data analytics

             services providers, appears to have reached an undisclosed deal with SPINS and IRI.

             Even assuming that Red Fox did not simply join IRI and SPINS’s conspiracy, Red Fox’s

             agreement with SPINS neutralizes Red Fox’s ability and incentive to act as a bona fide

             independent competitor—disciplining either pricing or quality—of IRI or SPINS in the

             Data Analytics Market. Red Fox will not be stepping into the low-cost, high-quality

             maverick role from which Crownalytics was being driven out.)

       69.      As expected, Crownalytics’s customers began to complain about SPINS’s new

pricing and data restrictions almost immediately. At this stage, some customers had already been


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coerced to leave Crownalytics. Potential new customers opted not to reach out to Crownalytics in

the first place.

        70.        In a desperate attempt to salvage its business in the face of this bald abuse of market

power, Crownalytics began to offer customers self-service software tools that did not require

Crownalytics to access any data. Rather, the customers would purchase the software, enter their

data, and analyze the data without Crownalytics’s involvement.

        71.        Offering this software which permitted customers to replicate at least some of the

core aspects of Crownalytics’s services addressed the concerns of some customers, many others

simply stopped working with Crownalytics. Even the limited reprieve bought by the software

offering, however, was short-lived. In a coup de grace, and again without even a colorable excuse,

SPINS began advising its customers in the NOCPG Data Market that they are prohibited from using

Crownalytics’s self-service software to analyze the data they had purchased from SPINS.

        72.        On April 5, 2022, Crownalytics received an official Notice of Termination from

SPINS, formalizing and completing SPINS’s exclusion of Crownalytics from the marketplace in a

manner identical to what IRI had done. This notice terminated any still-existing TPAs between

SPINS and its customers that permitted Crownalytics to access SPINS’s data for the purpose of

providing data analytics services to those customers—effective May 31, 2022.

        73.        Immediately after sending the Notice of Termination, SPINS informed

Crownalytics’s current, past, and potential customers that, “as of June 1, 2022, Crownalytics will

no longer have access to any data from SPINS…. If you use Crownalytics with SPINS data, you

will need to obtain a new analytics solution.”

        74.         After receiving the notice from SPINS, many of Crownalytics remaining customers

indicated to Crownalytics that they had no choice but to terminate their agreements with

Crownalytics because Crownalytics was no longer able to provide the same valuable data analytics
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services that had previously satisfied its customers. While these customers expressed their

disappointment in this development, as they preferred to use Crownalytics, they also expressed that

they now had no real choice other than to switch to SPINS’s or DAAP’s analytics services.

                                 VI. HARM TO COMPETITION

        75.      Since Defendants’ coordinated conduct began, Crownalytics has received

numerous notices from its customers indicating that they had no choice but to surrender their data

analytics services needs to SPINS.

        76.      Aside from being coerced to use a data analytics services provider not of their

choosing, customers also expressed dissatisfaction to Crownalytics that the prices that SPINS had

begun to charge for data analytics services are much higher than Crownalytics’s prices were.

Additionally, the quality of their analytics services, as well as their relationship management and

customer support, are inadequate.

        77.      Defendants have wielded their market power in the NOCPG Data Market to limit

customers’ choices in the Data Analytics Market to only one: SPINS. In other words, Defendants

can, and do, now force NOCPG manufacturers to purchase their captive data analytics services as

a condition of purchasing access to their essential databases.

        78.      Absent Defendants’ coercive conduct in the NOCPG Data Market, customers

would otherwise have contracted with other data analytics services providers in the Data Analytics

Market, such as Crownalytics. This is true for many reasons, including that these other data

analytics services providers have historically offered superior services at better prices than

Defendants now offer. As noted, prior to the new SPINS “partnership” plan, SPINS’s analytics

offerings never managed to capture a significant share of the Data Analytics Market in the five

years of its existence.

        79.      Defendants’ actions, collectively and individually, have lessened competition in the
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Data Analytics Market by limiting consumer choice, increasing prices of the affected services and

offerings, and reducing the quality of those outputs. Prior to the complained-of conduct, there were

four independent Data Analytics providers, in addition to SPINS and IRI, from whom customers

could choose—and benefit from the competition on pricing and service quality. Now, Defendants’

actions have led to exit from, and consolidation within, the Data Analytics Market leaving

customers with only Defendants as their choices for data analytics services.

       80.      Defendants’ actions, collectively and individually, have lessened competition in the

Data Analytics Market by reducing quality of output by eliminating even the possibility of

competitive pressure from competing providers of data analytics services (to the extent that any

non-captive data analytics services firms choose to remain in the market). Because those would-be

competitors’ customers are forced to use inferior data to obtain their services, the utility and quality

of any data analytics output will be significantly degraded. Accordingly, the overall quality of the

data analytics services provided in the Data Analytics Market is diminished because the analysis

depends on access to robust data.

       81.      Defendants’ actions, collectively and individually, have also lessened competition

in the Data Analytics Market by removing any price constraints that previously resulted from the

existence of independent competition with a meaningful market share. Crownalytics acquired its

position in this market by offering high-quality service at low prices. To the extent that any

competition can remain in the face of SPINS and IRI’s anticompetitive actions, these competitors

will be offering a substantively inferior, higher-priced data analytics services solution. They will be

unable to prevent Defendants from imposing supracompetitive pricing because Defendants know

that their customers cannot switch to a substitute.

       82.      Moreover, Defendants’ actions have erected an effective barrier to new entry into

the Data Analytics Market because no potential entrant would have the necessary access to
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Defendants’ data sets or be able to independently replicate them (which would require entry into

the NOCPG Data Market, which Defendants have also impeded), and access to these data sets is

essential to entering and competing in the Data Analytics Market.

                 VII. PLAINTIFF’S ANTITRUST INJURY AND STANDING

       83.      As explained above, Defendants’ anticompetitive and unlawful conduct has

reduced competition in the Data Analytics Market by eliminating consumer choice, so that the

market is limited only to Defendants’ own captive data analytics offerings.

       84.      Defendants’ anticompetitive and unlawful conduct has harmed competition in the

Data Analytics Market by reducing quality (and stifling innovation) insofar as Crownalytics, which

offers a superior, differentiated product, is no longer able to offer its product to customers in the

Data Analytics Market. Moreover, Defendants’ conduct reduces the incentive to innovate in the

Data Analytics Market due to Defendants’ absolute foreclosure of competition in this market.

       85.      Since Defendants have effectively excluded all competitors in the Data Analytics

Market, there is no remaining supplier who can restrain SPINS from further increasing its prices.8

       86.      There is no procompetitive justification for the behavior alleged above, all of which

unreasonably restrained trade and decreased competition in the Data Analytics Market. To the

extent that any procompetitive business objectives exist, any such objectives could have been

achieved by less restrictive means than eliminating all competition.

       87.      The same anticompetitive and unlawful conduct described above that has caused

this harm to competition in the Data Analytics Market, has harmed Crownalytics’s business. As a

direct result of Defendants’ unlawful acts, Crownalytics has lost customers, will lose its remaining




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        Because of its relationship with SPINS, Red Fox no longer provides any competitive restraint.
Presumably, Defendants’ conduct will stifle all other remaining competitors shortly, to the extent it
has not already done so.
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customers, and is effectively precluded from capturing new customers. When the final restraints on

Crownalytics’s access to data become effective, on June 1, 2022, Crownalytics will be completely

excluded from the marketplace. This harm confers antitrust standing upon Crownalytics to rectify

the antitrust injury that Defendants have caused.

                              FIRST CLAIM FOR RELIEF
    (Group Boycott – Per Se Violation of Sherman Act, 15 U.S.C. § 1 – by All Defendants)

        88.     Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        89.     Defendants IRI and SPINS are horizontal competitors in the NOCPG Data Market.

Individually, and together, they also are competing suppliers in the Data Analytics Market where

they also compete with Crownalytics, among others.

        90.     No other entity collects the NOCPG purchase data that SPINS obtains from smaller

or regional retailers. Nor could another company replicate that database or create a viable substitute

due to a combination of entry barriers including cost, timing, and existing exclusive arrangements.

By virtue of this unique product offering, SPINS has market power in the NOCPG Data Market.

        91.     Because IRI and SPINS have combined their competitive offerings into the SPINS

Bundle, IRI benefits from SPINS’s market power, and SPINS benefits from the incremental

increase in market power driven by the SPINS Bundle.

        92.     Both SPINS and IRI compete against Crownalytics (and other independent data

analytics services providers) in the Data Analytics Market—both individually and as part of their

anticompetitive arrangement.

        93.     To provide data analytics services and thereby compete in the Data Analytics

Market, providers such as Crownalytics must have access to the data their customers purchase in

the NOCPG Data Market. Having previously made their data sets available to all providers in the


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Data Analytics Market, IRI and SPINS now supply their data sets only in conjunction with their

own data analytics offerings.

       94.     IRI and SPINS began withholding Crownalytics’s (and other competitors’) access

to their data, in a departure from past practices that had been mutually beneficial to IRI and SPINS

and data analytics providers, including to Crownalytics, suddenly and contemporaneously. They

did so pursuant to an agreement to use their shared market power in the NOCPG Data Market to

eliminate competition in the Data Analytics Market.

       95.     IRI and SPINS make no effort to conceal their anticompetitive conspiracy—in fact

they advertise it. IRI and SPINS advertise that they have bundled their previously-competing data

products and are coordinating their previously competing data analytics offerings. Regardless of

the legality of those arrangements, they can hardly now plausibly claim that a major decision

impacting the value of that very data bundle as well as their analytics offerings businesses was

anything but an agreement to destroy competition from competing independent analytics

companies.

       96.     Consistent with these admissions, both companies—within weeks of each other—

terminated business practices involving complex interdependent relationships with Crownalytics

(and others) that had been in place for years and upon which the entire Data Analytics Market

depends. Deciding to cut off its customers’ access to independent analytics providers that served

the majority of the Data Analytics Market customers is not something that can be done on a whim,

given the symbiotic relationship between providers in the NOCPG Data Market and the Data

Analytics Market—the services of either one being worth less without the other’s.

       97.     Because access to SPINS and IRI’s data is necessary to be able to provide data

analytics services, Defendants’ denying Crownalytics access to their respective data sets prevents

Crownalytics from being able to compete in the Data Analytics Market. Moreover, this prevents
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customers in the Data Analytics Market from benefiting from the competition that previously

existed in that market, which provided them with more, better choices and lower prices.

       98.     Defendants’ anticompetitive conduct affects interstate commerce in the Data

Analytics Market because Defendants, directly and indirectly, use the means and instrumentalities

of interstate commerce, including by offering their products and services to customers throughout

the United States and in furtherance of the acts and communications alleged herein.

       99.     Crownalytics has suffered injury as a direct result of Defendants’ competition-

reducing conduct, and the harm to competition flows from that injury: its exclusion from the market

results in loss of customers and revenue for Crownalytics and reduced choice and increased prices

for consumers—in particular, the elimination of customers’ ability to choose a low-cost provider of

higher-quality services in the Data Analytics Market.

       100.    Crownalytics’s business reputation and customer relationships have also been

damaged by Defendants’ actions as described throughout this Complaint.

       101.    There is no reason that is not pretextual why either IRI or SPINS would seek to

exclude Crownalytics and other competitors from the Data Analytics Market other than the desire

to serve that market unrestrained by competition.

       102.    Indeed, barring Crownalytics from being able to compete in the Data Analytics

Market is the only reason IRI or SPINS would preclude Crownalytics’s access to their data. And

IRI and SPINS agreed to do so exclusively for this purpose.

       103.    Even if there were another purpose, one that was legitimate and procompetitive,

animating IRI and SPINS’s agreement, that purpose could have been achieved through less

restrictive means.

       104.    Because Defendants IRI and SPINS are horizontal competitors in the NOCPG Data

Market who share market power in that market (and also horizontal competitors of each other and
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Crownalytics in the Data Analytics Market), their conspiracy is per se illegal under the Sherman

Act.

        105.    Alternatively, Defendants’ conduct is unlawful under an inherently suspect, quick-

look, or rule-of-reason analysis because the anticompetitive effects substantially outweigh any

legitimate procompetitive benefits of their agreement.

        106.    Defendants have thus violated Section 1 of the Sherman Act.

        107.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                               SECOND CLAIM FOR RELIEF
       (Unilateral Refusal to Deal – Violation of Sherman Act, 15 U.S.C. § 2 – by SPINS)

        108.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        109.    Prior to SPINS’s decision to cut off Crownalytics, SPINS and Crownalytics had a

longstanding course of dealing that was profitable to both. Indeed, by providing data analytics

services to their mutual customers, Crownalytics increased the value of the data that SPINS sold to

those customers.

        110.    Discontinuing Crownalytics’s access to SPINS’s data precluded SPINS’s customers

from being able to obtain data analytics services from Crownalytics and, to the extent that

Crownalytics was those customers’ preferred data analytics services provider, eliminated any value

of the data that SPINS sold to those customers.

        111.    There is no rational reason why SPINS would eviscerate the value of its own product

to this customer segment in the NOCPG Data Market other than to be able to eliminate competition

in the Data Analytics Market in which SPINS also competes.

        112.    SPINS had previously made its data available to Crownalytics and nothing had


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changed to make it more difficult to do so, or otherwise reduce the incentive for SPINS to do so.

       113.    Without being able to share these data with Crownalytics, customers cannot retain

Crownalytics to provide data analytics services in the Data Analytics Market. Simply put,

Crownalytics must have access to SPINS’s data in order to be able to compete in the Data Analytics

Market.

       114.    Moreover, there is no alternative source from which to obtain SPINS’s data set, nor

does any comparable substitute exist. It is not practical, or even possible, for Crownalytics to create

its own competing data set. Accordingly, SPINS has market power in the NOCPG Data Market.

       115.    SPINS’s anticompetitive conduct affects interstate commerce in the Data Analytics

Market because SPINS, directly and indirectly, uses the means and instrumentalities of interstate

commerce, including by offering their products and services to customers throughout the United

States and in furtherance of the acts and communications alleged herein.

       116.    Crownalytics has suffered injury as a direct result of SPINS’s competition-reducing

conduct, and the harm to competition flows from that injury: its exclusion from the market results

in loss of customers and revenue for Crownalytics and reduced choice and increased prices for

consumers—in particular, the elimination of customers’ ability to choose a low-cost provider in the

Data Analytics Market.

       117.    Crownalytics’s business reputation and customer relationships have also been

damaged by SPINS’s actions as described throughout this Complaint.

       118.    There are no legitimate or procompetitive business reasons for these acts other than

to eliminate competitors in the Data Analytics Market.

       119.    SPINS has thus violated Section 2 of the Sherman Act.

       120.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.
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                                  THIRD CLAIM FOR RELIEF
          (Unilateral Refusal to Deal – Violation of Sherman Act, 15 U.S.C. § 2 – by IRI)

        121.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        122.    Prior to IRI’s decision to cut off Crownalytics, IRI and Crownalytics had a

longstanding course of dealing that was profitable to both. Indeed, by providing data analytics

services to their mutual customers, Crownalytics increased the value of the data that IRI sold to

those customers.

        123.    Discontinuing Crownalytics’s access to IRI’s data precluded IRI’s customers from

being able to obtain data analytics services from Crownalytics and, to the extent that Crownalytics

was those customers’ preferred data analytics services provider, eliminated any value of the data

that IRI sold to those customers.

        124.    There is no rational reason why IRI would eviscerate the value of its own product to

this customer segment in the NOCPG Data Market other than to be able to eliminate competition

in the Data Analytics Market.

        125.    IRI had previously made its data available to Crownalytics and nothing had changed

to make it more difficult to do so, or otherwise reduce the incentive for IRI to do so.

        126.    Without being able to share these data with Crownalytics, customers cannot retain

Crownalytics to provide data analytics services in the Data Analytics Market. Simply put,

Crownalytics must have access to IRI’s data in order to be able to compete in the Data Analytics

Market.

        127.    Moreover, there is no alternative source from which to obtain IRI’s data set, nor does

any comparable substitute exist. It is not practical, or even possible, for Crownalytics to create its

own competing data set. Accordingly, IRI has market power in the NOCPG Data Market.


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        128.    IRI’s anticompetitive conduct affects interstate commerce in the Data Analytics

Market because IRI, directly and indirectly, uses the means and instrumentalities of interstate

commerce, including by offering their products and services to customers throughout the United

States and in furtherance of the acts and communications alleged herein.

        129.    Crownalytics has suffered injury as a direct result of IRI’s competition-reducing

conduct, and the harm to competition flows from that injury: its exclusion from the market results

in loss of customers and revenue for Crownalytics and reduced choice for consumers—in particular,

the elimination of customers’ ability to choose a low-cost provider in the Data Analytics Market.

        130.    Crownalytics’s business reputation and customer relationships have also been

damaged by IRI’s actions as described throughout this Complaint.

        131.    There are no legitimate or procompetitive business reasons for these acts other than

to eliminate competitors in the Data Analytics Market.

        132.    IRI has thus violated Section 2 of the Sherman Act.

        133.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                               FOURTH CLAIM FOR RELIEF
           (Tying – Violation of Sherman Act, 15 U.S.C. §§ 1, 2 – by All Defendants)

        134.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        135.    Defendants IRI and SPINS collect retail tracking data, which they sell to

customers—manufacturers of branded NOCPG—in the NOCPG Data Market.

        136.    Crownalytics, Defendants SPINS and IRI, and others (at least prior to Defendants’

anticompetitive conduct) provide data analytics services to those same customers in the Data

Analytics Market.


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       137.    The NOCPG Data Market and the Data Analytics Market are separate markets

involving separate products and services. NOCPG manufacturers want—and historically had—the

freedom to buy those separate products and services from different suppliers.

       138.    SPINS and IRI agreed with each other only to sell their data in the NOCPG Data

Market to customers who also retained SPINS to provide data analytics services in the Data

Analytics Market.

       139.    Defendants coerced customers into contracts that contain de facto provisions which

operate as negative tying arrangements by conditioning the purchase and use of data on an

agreement not to purchase or use the services of Crownalytics (and other competitors in the Data

Analytics Market). More specifically, Defendants have sent cease and desist letters telling

customers that they cannot provide access to third parties such as Crownalytics, except in the

limited, pretextual manner described above. If NOCPG manufacturers desire data analytics

services, they now must turn to SPINS.

       140.    By virtue of their necessary and irreplicable data sets, as well as their large market

shares, IRI and SPINS have market power in the NOCPG Data Market.

       141.    The NOCPG Data Market has high barriers to entry. Not only would entry require a

major capital investment, it also would require real-time and ongoing access to retail data for which

Defendants have exclusive contracts. There are no realistic alternatives to which NOCPG

manufacturers can turn.

       142.    Defendants are able to impose these tying arrangements on customers because they

have market power in the NOCPG Data Market and are assured that they will not face new entry,

nor will any other circumstance reduce their market power in the foreseeable future.

       143.    The negative tie affects a substantial volume of interstate commerce in the Data

Analytics Market by restricting Crownalytics and other rivals from competing in the market.
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Specifically, Defendants’ anticompetitive conduct affects interstate commerce because Defendants,

directly and indirectly, use the means and instrumentalities of interstate commerce, including by

offering their products and services to customers throughout the United States and in furtherance

of the acts and communications alleged herein.

        144.    Crownalytics has suffered injury as a direct result of Defendants’ competition-

reducing conduct, and the harm to competition flows from that injury: its exclusion from the market

results in loss of customers and revenue for Crownalytics and reduced choice and increased prices

for consumers—in particular, the elimination of customers’ ability to choose a low-cost provider in

the Data Analytics Market.

        145.    Crownalytics’s business reputation and customer relationships have also been

damaged by Defendants’ actions as described throughout this Complaint.

        146.    There are no legitimate or procompetitive business reasons for these acts other than

to eliminate competitors in the Data Analytics Market.

        147.    Defendants have thus violated Sections 1 and 2 of the Sherman Act.

        148.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                               FIFTH CLAIM FOR RELIEF

(Conspiracy to Monopolize – Violation of Sherman Act, 15 U.S.C. § 2 – All Defendants)

        149.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        150.    Defendants IRI and SPINS are horizontal competitors in both relevant markets: the

NOCPG Data Market and the Data Analytics Market. Through their partnership in the NOCPG

Data Market, Defendants derived the opportunity to conspire to monopolize the Data Analytics

Market.
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       151.    Because IRI and SPINS have combined their competitive offerings in the Data

Collection Market into the SPINS bundle, IRI benefits from SPINS’s market power, and SPINS

benefits from the incremental increase in market power driven by the SPINS bundle. But those

benefits were not enough for Defendants. SPINS and IRI saw the opportunity to eliminate all

competition in the Data Analytics Market.

       152.    Defendants agreed to bar Crownalytics and other rivals from accessing their data for

the sole purpose of monopolizing the Data Analytics Market.

       153.    As discussed above, Defendants terminated business practices and complex

interdependent relationships with Crownalytics (and others) that had been in place for years and

upon which the entire Data Analytics Market depends.

       154.    Because access to SPINS and IRI’s data is necessary to the provision of data

analytics services, Defendants’ denying Crownalytics access to their respective data sets prevents

Crownalytics from being able to compete in the Data Analytics Market. Moreover, this prevents

customers in the Data Analytics Market from benefiting from the competition that previously

existed in that market, which provided them with more, better choices and lower prices.

       155.    Defendants’ anticompetitive conduct affects interstate commerce in the Data

Analytics Market because Defendants, directly and indirectly, use the means and instrumentalities

of interstate commerce, including by offering their products and services to customers throughout

the United States and in furtherance of the acts and communications alleged herein.

       156.    Crownalytics has suffered injury as a direct result of Defendants’ competition-

reducing conduct, and the harm to competition flows from that injury: its exclusion from the market

results in loss of customers and revenue for Crownalytics and reduced choice for consumers—in

particular, the elimination of customers’ ability to choose a low-cost provider in the Data Analytics

Market.
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        157.    There are no legitimate or procompetitive business reasons for these acts other than

to eliminate competitors in the Data Analytics Market.

        158.    Defendants have thus violated Section 2 of the Sherman Act.

        159.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                           SIXTH CLAIM FOR RELIEF
(Group Boycott and Concerted Refusal to Deal -- Colorado Antitrust Act, Colo. Rev. Stat.
                         § 6-4-104 Against All Defendants)

        160.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        161.    As alleged herein, Defendants’ group boycott and concerted refusal to deal constitute

illegal restraints of trade in violation of Colo. Rev. Stat. § 6-4-104.

        162.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                            SEVENTH CLAIM FOR RELIEF
 (Unilateral Refusals to Deal – Colorado Antitrust Act, Colo. Rev. Stat. § 6-4-105 Against
                                     SPINS and IRI)

        163.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        164.    SPINS and IRI’s unilateral refusals to deal, as alleged herein, constitute illegal

monopolization in violation of Colo. Rev. Stat. § 6-4-105.

        165.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                                EIGHTH CLAIM FOR RELIEF
(Tying – Colorado Antitrust Act, Colo. Rev. Stat. § 6-4-104 et seq Against All Defendants)

        166.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if
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fully set forth herein.

        167.    Defendants’ tying arrangements, as alleged herein, constitute illegal restraints of

trade in violation of Colo. Rev. Stat. § 6-4-104.

        168.    As a result of the foregoing, Crownalytics has been damaged in an amount to be

determined at trial.

                              NINTH CLAIM FOR RELIEF
   (Tortious Interference with Existing and Prospective Business Relations Against SPINS)

        169.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        170.    Crownalytics must have access to SPINS Data to provide its Data Analytics

Services.

        171.    SPINS has informed Crownalytics’s current, past, and potential NOCPG Data

Analytics customers that “as of June 1, 2022, Crownalytics will no longer have access to any data

from SPINS, either directly, or through customer third party agreements. If you use Crownalytics

with SPINS data, you will need to obtain a new analytics solution.”

        172.    SPINS has announced that it is cancelling all existing TPAs) between SPINS,

Crownalytics’s Data Analytics customers, and Crownalytics, effective May 31, 2022.

        173.    Thus, as of June 1, 2022, Crownalytics will be prohibited by SPINS from providing

existing and prospective NOCPG customers its Data Analytics services using SPINS Data,

including the SPINS Bundle.

        174.    SPINS representatives have made false and damaging statements about Crownalytics

to both Crownalytics’s customers and one or more competitors, to gain a business advantage while

it terminates Crownalytics’s access to SPINS data.




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        175.    SPINS has intentionally and improperly interfered with Crownalytics’s existing and

prospective contractual relations with NOCPG customers for the provision of Data Analytics

services.

        176.    SPINS has intentionally and improperly prevented Crownalytics’s existing and

prospective NOCPG customers from acquiring or continuing contractual relations with

Crownalytics for the provision of Data Analytics services.

        177.    As a result of the foregoing, Crownalytics has been injured and will be injured.

        178.    Crownalytics has already lost customers, contracts, goodwill, and its competitive

market position as a result of the foregoing.

        179.    As a result of the foregoing, Crownalytics will be irreparably harmed by being forced

out of the Data Analytics business, losing customers, losing contracts, goodwill, and its competitive

market advantage.

        180.    Crownalytics is entitled to injunctive relief to prevent the loss of existing and

prospective NOCPG Data Analytics customers, contracts, goodwill, and competitive market

position and to prevent it from being forced out of the Data Analytics business.

        181.    Crownalytics is also entitled to damages for losses suffered in an amount to be

determined at trial.

                                TENTH CLAIM FOR RELIEF
                              (Breach of Contract Against SPINS)

        182.    Crownalytics realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        183.    SPINS and Crownalytics entered into a consulting agreement effective June 29, 2017

by which Crownalytics would provide Consultant Reports and Services to certain clients that SPINS

designates. (“Agreement”). Paragraph 8 of the Agreement sets forth SPINS’s agreement to protect

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Crownalytics’s intellectual property:

               8. Intellectual Property. SPINS will not offer or provide the Consultant Reports to
               any other SPINS client other than Designated Clients. SPINS acknowledges that the
               Consultant Reports and other deliverables that Consultant develops in connection
               with this Agreement (collectively, the "Work Product") are and will be the
               Consultant's sole property. SPINS may make suggestions to Consultant with respect
               to the Consultant Reports and will not assert any proprietary rights to such
               suggestions against Consultant. SPINS obtains no rights by license or otherwise in
               the Work Product, except that Consultant hereby grants SPINS a non-exclusive, non-
               sublicensable limited license solely for the purpose of making the Consultant
               Reports available to Designated Clients. SPINS may not use Consultant's
               Confidential Information that is a part of the Consultant Reports as a basis on
               which to develop or have a third party develop an Excel report that is substantially
               similar to the Consultant Reports. SPINS' breach of this agreement may cause
               irreparable harm to the Consultant and monetary damages may not be a sufficient
               remedy for an unauthorized disclosure, usage, sharing or selling of the Consultant
               Reports. If SPINS discloses the Consultant Reports in violation of this Agreement,
               Consultant may, without waiving any other rights or remedies and without posting
               a bond or other security, seek an injunction, specific performance, or other
               equitable remedy to prevent further disclosure, and may pursue other legal
               remedies.

       184.    The Agreement has not been formally terminated, but in any event, pursuant to

paragraph 15g of the Agreement, paragraph 8 survives its termination.

       185.    Crownalytics performed under the Agreement by providing to SPINS and the

Designated Clients its Confidential Information and Consultant Reports, including its Sales

Planning Tools and its Strategic and Sales Planning Services.

       186.    In or about February 2021, SPINS launched a new Excel based tool called

PowerTabs.

       187.    SPINS used Crownalytics’s Confidential Information, Consultant Reports, Sales

Planning Tools, and Strategic and Sales Planning Services Reports as a basis on which to develop

or have a third party develop PowerTabs in breach of its contractual obligations.

       188.    SPINS’s PowerTabs is substantially similar to, indeed in certain material respects

identical to, Crownalytics’s Excel-based data analytics tools.


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       189.    SPINS advertises PowerTabs on its website and markets PowerTabs as a competitive

alternative to Crownalytics’s Data Analytics Services.

       190.    As a result of the foregoing, SPINS has breached paragraph 8 of the Agreement.

       191.    Upon information and belief, SPINS has provided Data Analytics Services using

PowerTabs in partnership with DAAP and/or IRI.

       192.    As a result of the foregoing, Crownalytics has been damaged and irreparably

harmed.

       193.    As a result of the foregoing, Crownalytics is entitled to injunctive relief.

       194.    As a result of the foregoing, Crownalytics is entitled to damages in an amount to be

determined at trial.

                                   VIII. RELIEF REQUESTED

       WHEREFORE, Crownalytics demands judgment in its favor, and against Defendants, plus

the following additional relief:

                A.      A temporary restraining order, and preliminary and permanent injunctive

 relief as to all Claims and as requested herein;

                B.      Damages in an amount to be proven at trial;

                C.      Treble damages on Crownalytics’s antitrust claims;

                D.      Reasonable attorneys’ fees and costs;

                E.      Pre- and post-judgment interest at the highest allowable legal rates; and

                F.      Such other and further relief as the Court deems just and proper.




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                               IX. DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury.

Dated: May 23, 2022                          s/Rick D. Bailey
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